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banking services, including its electronic payment systems. “Without such access, a depository

institution is nothing more than a vault.” A master account also enables a holder, such as BSJI, to

access various services promised by 12 U.S.C. § 248a including, among other things, wire transfer

services, automated clearinghouse services, and settlement services. As the Board itself

acknowledges, these “key financial services [] undergird the nation's payment system” – which

necessarily includes Puerto Rico – and financial institutions often refuse to transact with

institutions without access to such services.

       3.       BSJI previously worked in tireless lockstep with the FRBNY to develop industry-

leading, exemplary internal controls and compliance systems. Consistent with BSJI’s corporate

ethos, BSJI has dedicated substantial resources – including by hiring additional compliance

personnel – and time to these efforts, with an eye towards meeting the FRBNY’s every request

and ensuring BSJI’s continued use of its master account for the benefit of its customers and Puerto

Rico generally. BSJI’s efforts culminated in the development of what one former FRBNY official

described as a “front of the line” compliance system, many components of which were mirrored

in guidelines the FRBNY has since issued.

       4.      As part of its continued efforts to develop and maintain its exemplary compliance

program, BSJI has retained the services of several well-regarded external review firms and

consultants, including K2 Integrity (“K2”), to evaluate and enhance its Bank Secrecy Act/anti-money

laundering (“BSA/AML”) and sanctions compliance program.

       5.      Notwithstanding BSJI’s substantial expenditure of resources and sustained and

consistent reliance on outside consultants and former regulators to enhance its BSA/AML and

sanctions compliance program, the FRBNY notified BSJI on April 24, 2023, and reaffirmed on June

30, 2023, that it would terminate BSJI’s master account in a matter of weeks due to purported



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“concerns” with its BSA/AML and sanctions compliance program. The FRBNY also went so far as

to baselessly claim that BSJI somehow posed an “undue risk to the overall economy.”

       6.      The FRBNY’s decree marks the culmination of what has become a protracted and

crippling game of whack-a-mole for BSJI, as its existence hangs in the balance. Indeed, to take

this past year as just one example, the FRBNY has offered wavering and varying “justifications”

for the purported need to shutter BSJI’s master account. Without fail, as soon as BSJI conclusively

rebuts a “reason” proffered by the FRBNY – as it has done each and every time – the FRBNY

conjures yet another “rationale” that BSJI must rush to address. Throughout this process the

FRBNY and the Board have been steadfast in both their refusal to substantively engage with BSJI

and their dogged determination, despite all logic and proper basis, to ensure that BSJI is stripped

of vital access to the basic banking services that the United States Congress created the Federal

Reserve System to provide.

       7.      Taken in isolation, the FRBNY’s and the Board’s actions towards BSJI are beyond

the pale. But they are even more galling when viewed within the context of the FRBNY’s statutory

ambit, which plainly precludes the Board and Federal Reserve banks from denying master account

access on a discretionary basis. Indeed, the FRBNY’s actions towards BSJI underscore the wholly

unsupported position the Board and the FRBNY now take more broadly: that a Federal Reserve

bank (here, the FRBNY) is the sole and unchecked arbiter of master account access, unrestrained

by any statutory, regulatory, contractual, or Constitutional requirements. The FRBNY has wholly

embraced this unmoored notion of its unchecked “authority,” as it has gone so far as to assert that

it does “not have to rely on any particular basis” to terminate BSJI’s – or any bank’s – master

account. It alone decides which bank shall live, and which shall die.




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       8.      Per the FRBNY, not only must a depository institution be statutorily eligible for

master account access but, separate and apart, that bank must also obtain and retain the blessing of

the Federal Reserve Bank in its respective jurisdiction, and that access can be threatened, granted,

or stripped at that Federal Reserve Bank’s whim, on a moment’s notice, and without basis or proper

explanation.

       9.      The Board is also a proponent of this improper interpretation of the scope of the

FRBNY’s authority, having published guidelines that purport to identify factors the FRBNY, and

other Federal Reserve Banks, should consider in assessing master account access.

       10.     This reimagination of the scope of the FRBNY’s authority is a recent development

and a dramatic departure from the historical position of the Board and the Federal Reserve Banks.

For decades, the right of legally eligible entities (those like BSJI that satisfy the statutory

requirements for accessing the Federal Reserve System) to a master account was a matter of fact,

explicitly recognized by the Board, the Federal Reserve Banks, and market participants more

generally. And with good reason, as the Federal Reserve Banks are mandated by statute to provide

Federal Reserve services to such entities.

       11.     The myriad issues with the Board’s and the Federal Reserve Banks’ efforts to

improperly create a “new regime” (Biden v. Nebraska, 143 S. Ct. 2355, 2369 (2023)) by expanding

the scope of the Federal Reserve Banks’ delegated authority have come to a head of late. Recently,

Congressional investigations have focused on the Federal Reserve Banks’ standardless,

inconsistent, and unchecked decision-making when granting or terminating master account access.

Indeed, this widespread concern regarding Federal Reserve Banks’ behavior – exacerbated by their

refusal to cooperate with the corresponding Congressional inquiry – led to recent legislation

requiring heightened transparency into the Board’s and the Federal Reserve Banks’ activities.



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       12.     Despite both this and the fact that the only federal circuit court judge to examine

the right of a legally eligible institution to a master account conclusively rejected the Federal

Reserve Banks’ new position, the FRBNY continues to act as if it has unfettered discretion with

respect to master accounts.

       13.     To be sure, BSJI does not contest the mandate of the Board and Federal Reserve

Banks to protect the Federal Reserve System. But they cannot accomplish these aims in violation

of the law. As the FRBNY’s and the Board’s approach to BSJI illustrates, such unfettered

discretion both threatens disastrous results for BSJI and creates dangerous precedent that could be

applied to any financial institution, irrespective of its bona fides. Indeed, even assuming that the

FRBNY holds some level of discretion over master account access, its decision here was plainly

arbitrary and improper.

       14.     The most recent iteration of BSJI’s battle with the FRBNY began with a letter in

July 2022, when the FRBNY initially announced that it would permanently close BSJI’s master

account. The basis then for that decision, the FRBNY claimed, was that BSJI had purportedly

failed to meet an arbitrary June 2022 reporting “deadline” – a deadline that is not contained in any

FRBNY guideline, letter, contract, or rule. Making the FRBNY’s action even more confounding,

BSJI had previously requested in writing that the FRBNY clarify the precise due date for that filing

on two separate occasions, in light of what BSJI pointed out was the existence of conflicting

guidance. The FRBNY ignored both of BSJI’s requests for clarification, preferring instead to lie

in wait and use that “phantom deadline” as a pretext for terminating BSJI’s master account. The

FRBNY’s actions were all the more unreasonable considering that BSJI shortly thereafter

submitted the filing that the FRBNY had asserted was tardy, a filing that was itself dependent on

a well-credentialed third party (previously approved by the FRBNY) concluding its independent



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review of BSJI’s system of controls. That filing demonstrated that the Bank is, as it always has

been, a safe, well-regulated, and appropriately-controlled institution.

       15.     After receiving the FRBNY’s July 2022 surprise termination decision based on its

“phantom deadline” rationale, BSJI time and again sought dialogue with the FRBNY, sending a

litany of emails and letters in an attempt to engage the FRBNY and provide it with any information,

assurances, or submissions it needed or wanted so that BSJI could remain in business and continue

to serve its customers. The FRBNY ignored or rebuffed all such efforts, both denying the Bank’s

request for an in-person meeting and repeatedly insisting that its decision was grounded in “clear”

deadlines that BSJI purportedly missed. The FRBNY also relied on the “phantom deadline” to

claim that BSJI somehow posed “undue risk” to the FRBNY. It was only after BSJI notified the

FRBNY in September 2022 that it would immediately seek judicial recourse that the FRBNY

relented and agreed to “consider” whether BSJI’s “late” filing impacted its decision to terminate

BSJI’s master account.

       16.     In search of new grounds to justify its pre-ordained decision, in September 2022,

the FRBNY advised BSJI that it would issue Requests for Information regarding an array of

transactions, which it distributed to BSJI shortly thereafter. BSJI timely provided comprehensive

responses to the FRBNY, but BSJI’s communication went unanswered for months.

       17.     In the face of the FRBNY’s silence, BSJI again sought a dialogue with the FRBNY,

this time by letter dated January 25, 2023. In that letter, BSJI identified all the steps it had taken

since 2019 to enhance its compliance program, its pending plans to do still more, and even noted

its willingness to do whatever the FRBNY might ask of it going forward: “BSJI is prepared to

take additional action in collaboration with the FRBNY, including, for example, by establishing a

cap on master account activity, limiting the functionality of BSJI-provided accounts, or adopting



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capital requirements, all to address any perceived risk to the Reserve Bank associated with use of

the master account.” Again, the FRBNY chose not to respond and continued to refuse BSJI’s

efforts to engage.

       18.     Instead, and consistent with its prior practice, rather than open a dialogue with BSJI

about any purported concerns it might have had, the FRBNY opted instead to notify the Bank,

through a letter on April 24, 2023, that BSJI would lose its master account in a matter of weeks.

The April 24 letter focused on 13 purported “deficiencies” in BSJI’s compliance system that the

FRBNY claimed supported its decision to close BSJI’s master account. Principally relying on

these 13 purported “deficiencies,” the FRBNY alleged that BSJI – a small bank operating from a

single office in Puerto Rico that has 12 employees serving a small number of customers – somehow

posed an “undue risk” of illicit activity to the “overall economy.” This outlandish assertion, of

course, bore no relation to the FRBNY’s original justification for terminating access (the “phantom

deadline”). Moreover, the FRBNY’s letter was based on outdated information which, had the

FRBNY engaged in the dialogue BSJI repeatedly sought, it would have known. As the FRBNY

itself stated in its letter of April 24, 2023, “the New York Fed must assess BSJI based on the

circumstances that exist now,” and yet the FRBNY chose to knowingly rely on stale and inaccurate

information.

       19.     Further, what the FRBNY termed “deficiencies” in BSJI’s compliance program

were in fact best practice recommendations made by industry-leader K2 to supplement BSJI’s

extant compliance program on a forward-looking basis in the event BSJI eventually expanded its

size and services. K2 itself made that clear in making the recommendations. As such, the

recommended enhancements were not required by applicable law, regulation, or regulatory




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standard, nor were they “deficiencies” as claimed by the FRBNY. Yet, the FRBNY interpreted

these recommendations as purportedly precluding BSJI from master account access.

       20.     BSJI swiftly responded to the FRBNY’s newly minted “forward-looking

enhancements are deficiencies” rationale with several letters and submissions, all of which

provided a comprehensive response to the FRBNY’s April 24 letter. Included among BSJI’s

submissions was a 15-page analysis of the merit (or lack thereof) of each of the topics identified

by the FRBNY, the steps already taken to address each topic, and additional improvements that

BSJI was employing or would employ to alleviate any further concern. BSJI also provided the

FRBNY with sworn declarations from (i) K2’s Senior Managing Director explaining K2 findings,

(ii) the Chief Executive Officer of BSJI identifying the multiple enhancements to BSJI’s

compliance program and its retention of multiple experts and former regulators to ensure best

practices; (iii) a former compliance and ethics executive and former employee of the Federal

Reserve Bank regarding his consulting work for BSJI and his varied conversations and meetings

with the FRBNY; and (iv) a former Federal Reserve officer and examiner explaining that the

FRBNY had failed to engage in the necessary dialogue required under the circumstances and the

standards by which BSJI must be measured. But yet again, BSJI’s efforts were to no avail.

       21.     Following the FRBNY’s receipt of a sworn declaration saying that regulatory

guidance required a dialogue, the FRBNY – which offered no dialogue before deciding to

terminate BSJI’s master account – relented and agreed to a telephone call, which occurred on June

20, 2023. In that call, BSJI again made clear that nearly all of the concerns expressed by the

FRBNY in its April 24 letter were moot. BSJI further underscored, as it had in its submissions,

that its modest retail size could not plausibly pose the risk to the Federal Reserve System that the

FRBNY claimed. Once again, the FRBNY changed tack. Having been made aware through



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BSJI’s submissions that BSJI had, over the last year, adopted measures with respect to each of the

thirteen recommendations made by K2, the FRBNY did not invoke these “deficiencies” on the

call.

        22.    Rather, the FRBNY’s decree was based on, according to the FRBNY, the

“collective set of circumstances.” The FRBNY thereafter focused not on their “forward-looking

enhancements are deficiencies” rationale, but instead expressed concern about a high volume of

what the FRBNY characterized as “party-related” “shell company” transactions. In response, BSJI

laid out in detail, in its June 27, 2023 letter to the FRBNY, that none of BSJI’s accounts actually

involves “shell companies.”     Not surprisingly, the FRBNY failed to identify any specific

transaction involving any “shell company,” much less one that is indicative of money laundering.

        23.    This discussion was soon followed by another letter from the FRBNY, on June 30,

announcing that it would move forward with terminating BSJI’s account anyway. BSJI again

offered further dialogue in an effort to reach an amicable resolution but the FRBNY, in consistent

fashion, refused to engage.

        24.    Viewed alone, the FRBNY’s treatment of BSJI over the past year has been wildly

improper. But unfortunately, this recent year-long saga does not reflect the first time the FRBNY

has targeted BSJI without merit or reason.

        25.    In February 2019, without notice, the FRBNY suspended BSJI’s master account in

light of media reports about a federal investigation then being conducted regarding two loan

facilities granted by BSJI. The investigating authorities ultimately concluded that the transactions

were perfectly lawful, and BSJI regained access to its master account in December 2020. But by

that point, without access to its master account for 22 months, BSJI was a mere shell of its former

self, and its customer relationships were decimated. Had the FRBNY engaged in an appropriate



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review of any concerns, and not blindly invoked its “media reports” rationale, it could have

avoided the unnecessary and crippling harm that befell BSJI.

        26.      The FRBNY’s lack of consistency has created an inherently unstable business

environment for BSJI, repeatedly causing it to divert substantial resources to continuously fight

for its business life rather than devoting all of its energies to implementing its business plans.

        27.      The FRBNY’s course of conduct, coupled with BSJI’s modest risk profile and

ceaseless devotion to a top-of-the-line compliance program blessed by reputable independent

consultants, makes clear that the FRBNY’s decision to close BSJI’s master account is rooted not

in any reasoned decision making. Instead, on information and belief, as evidenced by an April 27,

2019 FRBNY letter, the FRBNY is determined to deny master access to Puerto Rican IBEs. 1

According to media reports, this decision is rooted in the “expansion of U.S. economic sanctions

relating to Venezuela.” Improper targeting of BSJI because it was founded by a Venezuelan

national more than 12 years ago – never mind that he was educated in the United States and in

Europe and has lived in in the United States and Europe for nearly 22 of the last 25 years – and is

regulated by a Puerto Rican government agency rather than a federal agency is, of course, patently

unreasonable (and unlawful).

        28.      Closing BSJI’s master account based on arbitrary and pretextual grounds,

particularly where BSJI (i) has been a master account holder for more than 10 years and (ii) has

devoted tremendous resources and time working closely with the FRBNY and well-regarded

advisors to develop the first-in-class controls and procedures which the FRBNY now criticizes, is a




1
  Reuters, Exclusive: New York Fed Cracks Down on Puerto Rico Bank Following Venezuela Sanctions (April 18,
2019), available at https://www.reuters.com/article/us-venezuela-politics-puertorico-exclusi/exclusive-new-york-
fed-cracks-down-on-puerto-rico-banks-following-venezuela-sanctions-idUSKCN1RU2EI.

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gross abuse of administrative power. It also violates BSJI’s statutory, due process, and contractual

rights.

                                         THE PARTIES

          29.   Plaintiff BSJI operates under the supervision of the Office of the Commissioner of

Financial Institutions of Puerto Rico (“OCIF”). BSJI was founded in 2011 by Marcelino Bellosta

Varady, a national of Venezuela (as well as of Hungary and Spain). BSJI’s principal place of

business is Galería San Patricio, B5, Calle Tabonuco, Suite # 207, Guaynabo, Puerto Rico 00968.

BSJI offers business banking, including corporate accounts, premier corporate accounts, and

financing; and personal banking, including personal accounts, premier personal accounts, and

fixed-term deposits.

          30.   Defendant FRBNY is one of the 12 Federal Reserve Banks of the United States,

with its principal place of business at 33 Liberty Street, New York, New York 10045. The FRBNY

is responsible for the Second District in the Federal Reserve System, which is comprised of the

State of New York, the 12 northern counties of New Jersey, Fairfield County in Connecticut,

Puerto Rico, and the U.S. Virgin Islands. In this capacity, it supervises and regulates Federal

Reserve member banks and bank holding companies within the Second District. It is a federal

agency of the United States, created by Congress, with its own board of directors. The FRBNY is

incorporated as a non-profit governmental corporation, with the capacity to sue and be sued in its

own name.

          31.   Defendant Board is the governing body of the Federal Reserve System, with its

principal place of business at Constitution Ave N.W. & 20th St. N.W., Washington, DC 20551.

The Board is responsible for overseeing the 12 regional Federal Reserve Banks. It is an agency of

the United States, and is comprised of seven members – also known as “governors” – who are

nominated by the President and confirmed by the Senate.
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                                 JURISDICTION AND VENUE

       32.     This Court has subject matter jurisdiction under 12 U.S.C. § 632, which provides

that “all suits of a civil nature at common law or in equity to which any Federal Reserve bank shall

be a party shall be deemed to arise under the laws of the United States, and the district courts of

the United States shall have original jurisdiction of all such suits.” Additionally, this Court has

jurisdiction under 28 U.S.C. § 1331, as this is a civil action “arising under the Constitution, laws

or treaties of the United States.”

       33.     Venue in this District is proper as to the FRBNY under 28 U.S.C. § 1391(b)(1) and

(2) because (i) the FRBNY has its principal place of business in this district and (ii) a substantial

part of the events giving rise to the claims at issue occurred here. The Federal Reserve Banks

Operating Circular No. 1, Account Relationships (“Operating Circular No. 1”) also states that

“[a]ny action against a Reserve Bank for any act or omission relating to an account relationship or

transaction must be brought . . . in the United States District Court and Division where the

Administrative Reserve Bank is located.” Operating Circular No. 1 ¶ 7.4. The FRBNY is, as

mentioned above, located in lower Manhattan. Venue in this District is also proper as to the Board

under 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to the claims at

issue occurred here.

       34.     The FRBNY and the Board are subject to this Court’s personal jurisdiction because

they have purposefully availed themselves of the privileges of conducting business in this District,

and a substantial part of the events giving rise to the claims at issue occurred in this District.



                                     FACTUAL BACKGROUND




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I.         BSJI

           35.    IBEs like BSJI serve as a bridge between U.S. companies and foreign investors.

Under Puerto Rican law, the principal goal of IBEs is to attract United States and foreign investors

to Puerto Rico. To that end, BSJI offers corporate banking services, including both corporate

accounts and financing as well as personal banking, including personal checking accounts and time

deposits.

           36.    BSJI operates under the supervision of the Office of the Commissioner of Financial

Institutions of Puerto Rico (“OCIF”) with whom BSJI regularly consults and engages.




                                                       Indeed, in recognition of these controls and

procedures, in 2014, OCIF expanded the scope of BSJI’s powers to authorize BSJI to engage in

fiduciary activities, which permits the Bank to offer paying agent and custodial services to bond

issuers.

           37.    BSJI’s capital is well over any regulatory benchmark established by any federal

regulator for a well-capitalized depository institution. As of July 13, 2023, the total stockholder’s

equity of BSJI represented more than 60% of its total assets. By stark contrast, a typical U.S.

depository institution’s total shareholders’ equity is usually somewhere between 8% and 12% of

its total assets. Further, more than 76% of BSJI’s total assets is cash and due from banks. In short,

BSJI’s current financial condition is exceedingly sound.

           38.    As of July 13, 2023, BSJI’s total account balances of customers’ demand deposit

accounts were less than $13 million held in 14 demand deposit retail accounts. On average,

considering wires and all other transactions, BSJI undertook fewer than two transactions per day,

totaling less than $90,000 per day for the entire institution.
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           39.      More than 11 years ago, on April 5, 2012, pursuant to a Foreign Banking Institution

Account Agreement between BSJI and the FRBNY (the “Account Agreement”), BSJI opened its

master account with the FRBNY. The Account Agreement is governed by New York law and

incorporates “all the provisions” of Operating Circular No. 1, which, in turn, sets forth the terms

under which a Financial Institution opens, maintains, and terminates a Master Account with a

Federal Reserve Bank. Operating Circular No. 1 ¶ 1.0. 2 Operating Circular No. 1 is also governed

by New York law, and expressly incorporates a duty of care applicable to both the FRBNY and

the contracting bank. Id. ¶¶ 7.1; 7.4.

II.        THE IMPORTANCE OF THE FRBNY MASTER ACCOUNTS

           40.      Without a master account, BSJI cannot effectively function as a depository

institution for at least four reasons. First, the Bank will be unable to connect to the Federal Reserve

Bank payment services. Second, it is both practically impossible and cost-prohibitive for BSJI to

utilize a correspondent bank to access Federal Reserve System services. Financial institutions

generally will not accept deposits that have been rejected by a Federal Reserve Bank. Indeed, all

of BSJI’s efforts to find a correspondent bank in the wake of the FRBNY’s 2019 suspension of a

master account and the FRBNY’s more recent announcement regarding BSJI’s master account

have been rebuffed. What is more, even if BSJI could find an institution that would be willing to

act as a correspondent bank, given the modest size of BSJI and the significant expenditures recently

made in relation to the FRBNY’s termination decision, the additional cost of retaining an

intermediary correspondent bank would be ruinous. Third, the closure of BSJI’s master account

will seriously impede BSJI’s attempts to apply for FDIC deposit insurance of its deposit accounts

because the FDIC would not grant insurance to an applicant that the FRBNY determined poses an


2
    https://frbservices.org/assets/resources/rules-regulations/020113-operating-circular-1.pdf

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“undue risk,” even if there is no legitimate basis for such determination. Fourth, certain long-term

projects that BSJI has worked on are themselves dependent on BSJI having a master account. For

example, BSJI has been working with a well-recognized credit card company for the issuance of

BSJI credit cards, which would in turn yield an important revenue stream as part of BSJI’s business

plan. The credit card company, however, conditions its continued commitment on BSJI having a

master account at a Federal Reserve Bank. Absent court involvement now, this relationship –

literally years in the making – will crater.

III.    BSJI’S HISTORY WITH THE FRBNY

        A.     The FRBNY’s prior temporary suspension of BSJI’s master account

        41.    BSJI and the FRBNY worked collaboratively together for many years without

incident.

        42.    In February 2019, however, the FRBNY temporarily suspended BSJI’s master

account in light of media reports of an investigation then being conducted in Puerto Rico regarding

two loan facilities granted by BSJI, one of which primarily benefitted U.S.-based Caterpillar Inc.,

in its business dealings with Petroleos de Venezuela S.A. (“PDVSA”), the Venezuelan state-owned

oil and natural gas company. BSJI did not rely only on in-house expertise to consummate the

transactions. Instead, experienced U.S. and international legal counsel were involved, including

Hogan & Lovells representing PDVSA; Reed Smith and Baker McKenzie representing the

contractors in 2016 and 2017, respectively; and Shutts & Bowen, Allen & Overy (English counsel),

Mendoza Palacios (Venezuelan counsel), and DLA Piper (Puerto Rican counsel) representing

BSJI.




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        43.      The loan agreements were complex and sophisticated, and, as the investigating

authorities ultimately concluded, entirely lawful. 3

        B.       BSJI’s development of state-of-the-art compliance and controls

        44.      In response to the FRBNY’s suspension and the “media reports” rationale upon

which it was predicated, BSJI representatives promptly began communicating and meeting with

FRBNY officials. From BSJI’s perspective, it wanted to give the FRBNY whatever comfort it

needed to avoid termination of BSJI’s Federal Reserve services.

        45.      As an initial step, in April 2019, BSJI retained a highly credentialed team at FTI

Consultants, one of the leading management consultant firms in the world, to assess and improve

BSJI’s BSA/AML compliance program. This team was led by the former Chairman of the FDIC,

William M. Isaac, and former compliance and ethics executive Richard J. Wolf.

        46.      Mr. Isaac was appointed by President Carter and confirmed by the United States

Senate in early 1978 to serve on the board of directors of the FDIC. President Reagan appointed

him as Chairman of the FDIC where he served for five years, steering the industry out of a financial

crisis that saw scores of bank failures. He also served as chairman of the Federal Financial

Institutions Examination Council (1983–1985), as a member of the Depository Institutions

Deregulation Committee (1981–1985), and as a member of the Vice President’s Task Group on

Regulation of Financial Services (1984). He had also served as Vice President, General Counsel

& Corporate Secretary of the largest banking company in Kentucky for four years.

        47.       Mr. Wolf was at the time a senior advisor with FTI Consulting. Before that, he

served in a variety of legal and compliance roles, including periods of service as Senior Advisor



3
 U.S. Dep’t of Justice, Bank Of San Juan Internacional, Inc. And The U.S. Attorney’s Office For The District Of
Puerto Rico Resolve Pending Litigation And Related Matters (Feb. 11, 2020) https://www.justice.gov/usao-
pr/pr/bank-san-juan-internacional-inc-and-us-attorney-s-office-district-puerto-rico-resolve.

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for the Federal Reserve Bank of New York, Chief Ethics Officer for HSBC North America, and

global head of compliance and ethics for Cendant Corporation.

          48.   The FTI assessment was undertaken despite the fact that




                                                                                      But in keeping

with its business philosophy – and to provide the FRBNY with the assurances it demanded – BSJI

and FTI proceeded with what turned out to be a multi-million-dollar, multi-year assessment of

BSJI’s compliance program that ultimately cost over $7 million.

          49.   The assessment began with FTI dispatching a team of BSA/AML experts, under

Mr. Isaac’s direction, to the only office of BSJI (in Guaynabo, Puerto Rico), where they were

tasked with identifying any gaps in BSJI’s BSA/AML program, formulating a comprehensive plan

to address any potential shortcomings, and implementing any such plan to ensure its long-lasting

effect.

          50.   As Mr. Isaac described, his team focused:

                on establishing a comprehensive customer identification/customer due
                diligence program; evaluating and strengthening the bank’s other pillars
                associated with policies, procedures, and related controls; assisting the bank
                with recruiting a permanent and well-qualified BSA/AML compliance
                officer; implementing a thorough and ongoing compliance training
                program; and providing for periodic, risk-based, and independent testing of
                the compliance program. . . . Among other things, we conducted a detailed
                BSA/AML “lookback” review of customer transactions, from January 1,
                2018, to March 30, 2019, using a risk-based approach. We also conducted
                a know-your-customer due diligence review of all BSJI customers to ensure
                that no prohibited parties may have had access to the U.S. financial system
                through their accounts at BSJI. At all times, my team and I committed
                ourselves to being fully transparent with the Federal Reserve Bank of New
                York (“FRBNY”) with our findings and regularly provided the FRBNY
                with updates—frequently in person at the FRBNY’s headquarters offices in
                New York City.

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       51.     This fully voluntary “lookback” was an immense undertaking, lasting about a year,

requiring more than 5,500 hours of personnel time, precipitating more than 200 requests for

information, and costing BSJI more than $4 million. At the review’s conclusion, FTI certified to

the FRBNY that it discovered no evidence of any illicit activity at BSJI. In other words, the

FRBNY suspended BSJI’s master account not because of any wrongdoing – there was none – but

merely because of a media report and pendency of an investigation: BSJI was deemed guilty until

proven innocent. We are not aware of any instance where the FRBNY, or any other Reserve Bank,

suspended the master account of a large U.S. bank for those reasons. To the contrary, there are a

number of examples of large U.S. banks being fined, charged, and/or convicted of crimes yet they

did not lose their master account.

       52.     In July 2019, the FRBNY informed BSJI that it would consider allowing BSJI

access to limited service if and when the FRBNY was convinced that no sanctioned or otherwise

illicit transactions were, or would be, processed through BSJI’s accounts at the FRBNY. Mr. Isaac

and FTI continued to build and enhance BSJI’s compliance program, devoting thousands of hours

of employee and third-party personnel time to create top-tier internal controls and compliance

systems. At every step of this process, BSJI worked collaboratively and transparently with the

FRBNY to satisfy its every request and address any concerns it had.

       53.     On December 6, 2019, BSJI and FTI presented updated findings to the FRBNY,

confirmed the lack of evidence of illicit activity in BSJI’s transaction history, identified the

additional improvements made by BSJI over the preceding eight months, and discussed the next

steps that BSJI intended to take in improving its compliance system. During the December 2019

meeting, BSJI also informed the FRBNY that BSJI would be engaging an independent private

examiner to review its BSA/AML/OFAC program and other key internal controls on a biannual

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basis, beginning in Q1 2020, to ensure the Bank was performing with optimal risk mitigation

practices. In so doing, BSJI would be expending its own resources to have an independent third

party, acceptable to the FRBNY, act as its private examiner. BSJI also told the FRBNY that it was

prepared to have that independent private examiner report its findings directly to the FRBNY.

       54.     The FRBNY and, in particular, its general counsel, Michael Held, who had been

intimately involved in the BSJI review, expressed appreciation for the efforts BSJI had undertaken

and was willing to take in the future.

       55.      Notably, as BSJI’s discussions with the FRBNY matured, the FRBNY indicated

fewer misgivings about BSJI in particular, but rather conveyed its discomfort with IBEs more

generally, because they are neither federally regulated nor federally examined; they are instead

regulated and examined by their local regulator. This, of course, was in line with the April 2019

news reports of the FRBNY’s decision to curtail master accounts for IBEs. See supra at p. 10 n.

1.

       56.     During a second meeting, on February 13, 2020, among Mr. Isaac, Mr. Wolf, and

BSJI’s management on the one hand, and the FRBNY on the other, BSJI and the FTI team apprised

the FRBNY of BSJI’s progress over the preceding months and reiterated the additional steps BSJI

intended to take in the immediate future. During the meeting, Mr. Held informed BSJI and its

consultants that the FRBNY intended to impose new master-account-related obligations on all

IBEs, and observed that BSJI would be “at the front of the line” in terms of meeting the new

requirements because many of the steps BSJI had taken proactively, including the use of

independent examiners to conduct testing of controls, were among the new obligations the FRBNY

intended to impose. In other words, BSJI had already taken many of the actions that the FRBNY

would later impose on all IBEs.



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       57.    On April 22, 2020 – over a year after the FRBNY suspended BSJI’s account – the

FRBNY informed BSJI that access to its master account would be restored in a phased approach.

Specifically, the FRBNY advised that after:

              consideration of the information provided on the call and the documents
              provided to FRBNY, FRBNY lays out below a phased path for BSJI to: (1)
              reestablish limited access to its FRBNY accounts and certain Federal
              Reserve financial services; and (2) demonstrate full compliance with the
              requirements of the FRBNY Account and Financial Services Handbook (the
              “Handbook”). FRBNY will consider providing BSJI with broader access to
              Federal Reserve financial services if FRBNY is satisfied that BSJI is in full
              compliance with the requirements of the Handbook.

       58.    BSJI immediately began to take the steps requested by the FRBNY, and hired two

more premiere independent consultant firms, K2 and Chain Bridge Partners LLC (“Chain

Bridge”), to assist with these efforts. K2, a preeminent risk, compliance, investigations, and

monitoring firm, was tasked with validating BSJI’s transaction monitoring and sanctions screening

systems, while Chain Bridge, an independent advisory firm led by Jeremiah Norton, a former

director of the FDIC, was responsible for testing and satisfying the operational risk management,

resiliency, and continuity requirements of the Handbook.

       59.    BSJI submitted the first tranche of documents called for under the Handbook and

Phase 1A of the restoration plan mandated by the FRBNY on May 8, 2020. This process continued

over the next seven months, during which BSJI and its consultants regularly met with FRBNY

representatives and apprised them of BSJI’s progress, while contemporaneously developing and

submitting additional information for the FRBNY’s consideration. These documents included a

revised business plan and updated policies and procedures for transaction monitoring based on

recommendations from K2. During this period BSJI also engaged a fourth leading independent

consultancy firm, AML RightSource (AMLRS), to perform an independent audit review of BSJI’s




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BSA/AML and OFAC Compliance Programs for the upcoming period of October 1, 2020 to

September 30, 2021.

        60.      Finally, on December 3, 2020, BSJI was notified that the FRBNY “ha[d]

completed its review of both the initial and additional documentation in accordance with the Phase

1B of the plan and [was] satisfied that BSJI ha[d] met the requirements of Phase 1B.” Accordingly,

BSJI had its master account and “unrestricted access to the Fedwire Securities Service restored via

the Federal Reserve Banks’ standard offline process,” effective December 14, 2020.

        61.      During the 22-month period when BSJI’s master account access was suspended,

BSJI built on its system of controls and governance and transformed it into a top-tier system

beyond that of its immediate peer group, and which proved acceptable to the FRBNY. Indeed,

some of BSJI’s ideas, such as the use of credentialed third parties acceptable to the FRBNY to act

as independent examiners, were adopted by the FRBNY in guidance recently promulgated by the

Board to all IBEs and other financial institutions. 4 These third-party independent examiners were

intended to serve as the eyes and ears of the FRBNY since the FRBNY did not have a direct

regulatory or supervisory role over IBEs.

        62.      BSJI’s Chief Executive Officer, Héctor J. Vázquez, summarizes the extensive

measures that BSJI undertook during this 22-month period:

                 Also in 2019, BSJI inventoried all bank policies and procedures and
                 completed a compliance program gaps analysis. With the assistance of FTI
                 and with the new BSA Officer’s involvement, and added backup staff and
                 resources to assist him, BSJI enhanced its overall system of compliance
                 controls, including revised policies and procedures, and, critically,
                 completed the implementation of the fully automated transaction-
                 monitoring system. The process also yielded revised Bank Secrecy Act
                 (“BSA”)/anti-money laundering (“AML”) policies and procedures
                 assembled in a new AML/CFT Manual, which includes specific instructions
                 and clear policy on the filing of Suspicious Activity Reports and a process

4
 See Board of Governors of the Federal Reserve System, Guidelines for Evaluating Account and Services Requests,
Final Guidance, 87 Fed. Reg. 51,099-51,110 (Aug. 19, 2022).

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               for escalating questions regarding whether and when to file such a report.
               BSJI also updated the Know Your Customer program to risk-rate and
               evaluate BSJI’s unique customer base specifically designed for heightened
               concerns regarding the region and market in which the Bank operates,
               including a customized risk-rating form to evaluate all customers during the
               initial due diligence and the enhanced due diligence processes.

               In 2020, BSJI adopted new codes of business conduct and ethics for
               employees, officers, and directors. BSJI trains and tests all employees on
               BSJI policies regarding AML, sanctions, ethics, and AML. Importantly,
               BSJI has not only updated its policies and procedures, and automated its
               transaction monitoring system, but it actively strives to ensure that a culture
               of compliance permeates its every day decision-making process.

       C.      BSJI suffers immense reputational and economic harm during the temporary
               suspension of its master account

       63.     While BSJI’s FRBNY master account access was temporarily suspended, BSJI’s

inability to access Federal Reserve services caused it enormous reputational and financial harm.

Specifically, BSJI was forced to shrink to a mere fraction of what it once was, and today retains

less than 2 percent of the retail depositors it had prior to the suspension.

       64.     As a result, the total number of deposit accounts was reduced by over 90% from

January 1, 2019, to July 31, 2022, while the corresponding dollar amount of total deposits dropped

by over 66% during the same period. Moreover, the FRBY’s suspension of BSJI’s master account,

and the corresponding exodus of retail clients, effectively ended BSJI’s retail banking services

business: BSJI now primarily engages in corporate and investment banking activities.

       65.     BSJI’s valuable customer relationships were catastrophically frayed as well, and

BSJI continues to work, to this day, to try to rebuild itself after the disaster caused by the FRBNY

master account temporary suspension.

IV.    K2’S 2021 AND 2022 REPORTS

       66.     In 2021, in light of the COVID pandemic, K2, BSJI, and the FRBNY reached a

variety of accommodations on the respective due dates of various compliance reports.


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Accordingly, K2 produced (i) the OFAC screening technical validation on June 14, 2021, (ii) the

BSA/AML and OFAC compliance program assessment on June 16, 2021, and (iii) the BSA/AML

transaction monitoring technical validation on June 29, 2021. While the reports were all submitted

in June 2021, the end of the review period for the various subject matters ranged from April 30

through June 2021, although the information provided for June 2021 was very limited given the

timing of the submissions.

       67.     Because the FRBNY requires “annual” submissions, BSJI and K2 discussed the

appropriate review period and anticipated submission dates for 2022.         Though the precise

submission date of these “annual” reports is not identified in the Handbook, the FRBNY stated

that the review period “must cover a full 12-month period. Generally, FRBNY requires the date

of the report of Independent Consultant or Auditor be no more than three months from the end of

the 12-month period reviewed by the Independent Consultant or Auditor.”

       68.     In light of the inconsistent review periods for BSJI’s preceding submissions, the

FRBNY’s requirement that the consultant/auditor reports cover a full 12-month period, and due to

the varying due dates the FRBNY had previously announced as a result of the COVID-19

pandemic, K2 and BSJI concluded that it would be most appropriate to align the review periods

going forward. The 2022 review period was consequently set to be through and including June

30, 2022, one year from the review period covered by BSJI’s final 2021 compliance report

submission. Given that the last of K2’s review periods concluded on June 30, 2022, the K2 reports

(per the FRBNY’s guidance) would need to be concluded and dated “no more than three months”

thereafter, that is, by September 30, 2022.

       69.     However, BSJI recognized that the Handbook’s guidance was internally

contradictory: the Handbook required “annual” submissions, but such a submission would



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necessarily violate in this instance the Handbook’s requirement that the reports cover a 12-month

period, given that it would be impossible to submit a comprehensive report of data from the very

same day as the report deadline. Moreover, the Handbook stated that reports were “generally”

required to be submitted “no more than three months from the end of the 12-month” review period

but did not provide a concrete deadline, further confusing the matter. This lack of consistent

guidance, coupled with the reporting delays caused by the COVID-19 pandemic, rendered BSJI’s

reporting deadlines less than clear.

           70.   BSJI believed that the obvious and appropriate approach was to seek guidance from

the FRBNY itself, as it had done on a regular basis while working with the FRBNY to develop its

industry-leading compliance system. As such, and consistent with the Handbook’s guidance that

banks should contact the FRBNY in the event of any questions, BSJI contacted the FRBNY on

April 7, 2022.

           71.   Specifically, on April 7, 2022, BSJI emailed Claudette Bridgewater of the FRBNY,

stating:

                 BSJI is developing a work plan to ensure that all documentation required by
                 the FRB-NY Handbook for the year ending December 31, 2022, is
                 completed and submitted in a timely fashion. As part of the planning
                 process, we would like to confirm our understanding of the steps to be
                 followed and arrange a bilateral call with your group, at your earliest
                 convenience, to ensure that we fulfill FRB-NY requirements. To facilitate
                 such discussion, below please find a summary of our understanding of this
                 year’s process as follows: . . . BSJI is hiring K2 Integrity to provide a model
                 validation and compliance program assessment, the Factor 2 Attestation for
                 2022. Their review period will cover [the period] from May 2021 to June
                 30, 2022. (BSJI expects that field work and Attestation report be completed
                 by the latter part of the third quarter of 2022).

           72.   Notwithstanding the close contact and rapport that BSJI and the FRBNY had over

the preceding years, BSJI’s request went unanswered. With the conclusion of the review period




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approaching, BSJI diligently again reached out to Ms. Bridgewater on June 3, 2022 – less than 60

days from its first written request to the FRBNY for guidance. BSJI again told the FRBNY that:

               BSJI has engaged K2 Integrity, operating through K2 Intelligence, LLC, as
               an Independent Consultant to perform the BSA/AML and OFAC Program
               Assessment, Technical Validation, meeting the requirements of factor 2 of
               the FRB-NY Handbook. The scope of the review period will cover from
               May 1, 2021 to June 30, 2022. The inclusion of June 2022 in the review
               period is to align the review periods of both the Program Assessment and
               the Technical Validation and to ensure complete coverage of relevant
               internal controls for the current review.

       73.     BSJI’s second request for FRBNY guidance fared no better. Once again, the

FRBNY did not respond. Under the circumstances, and in light of the FRBNY’s non-objection to

BSJI’s twice-announced plans, BSJI reasonably proceeded with its process as required by the

Handbook, and as communicated to the FRBNY: to submit its reports within three months of the

review period’s conclusion on June 30, 2022.

V.     THE FRBNY ARBITRARILY AND INAPPROPRIATELY DECIDES TO
       TERMINATE BSJI’S MASTER ACCOUNT, THEN PAUSES TERMINATION

       74.     Through the conclusion of the review period, the FRBNY did not respond to BSJI’s

outreach. Suddenly, on July 18, 2022 – fewer than three weeks after the review period’s

conclusion, several months after the Bank’s first outreach on the issue, and well within the three

months the Handbook affords for the submission of a report – the FRBNY sent a letter to BSJI

stating that the Bank’s “non-compliance” with an alleged June 2022 filing date, “among other

things,” presented “undue risk” to the FRBNY – a baseless refrain that, as BSJI would soon learn,

the FRBNY would repeatedly, baselessly invoke. Accordingly, the FRBNY informed BSJI that

the FRBNY would terminate BSJI’s master account on September 15, 2022 (a date later briefly

extended to September 29, 2022). Despite the vague reference to “other things,” the letter

specifically identified only BSJI’s alleged tardy filing as a basis for the termination of the master

account.

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       75.     The letter came as a complete shock to BSJI. Just a year and a half before, the

FRBNY had blessed BSJI’s systems and controls, as well as its extensive efforts to become a

model IBE, by granting BSJI unrestricted access to a master account and FRBNY offline services.

Moreover, and importantly, the Bank had continually improved its systems and controls since that

time. Further, the FRBNY’s own published advice did not support the FRBNY’s actions, and BSJI

was denied an opportunity to remedy any purported submission deficiencies. And, of course, the

FRBNY could have avoided any misunderstanding, if in fact there actually was a

misunderstanding, had it merely responded to either of BSJI’s communications.

       76.     BSJI promptly responded on July 19, 2022, emphasizing that BSJI had repeatedly

contacted the FRBNY seeking guidance on the very deadline on which the FRBNY was now

predicating its account termination. BSJI likewise clarified that the reports at issue were currently

being prepared, which was consistent with the three-month submission process articulated in the

FRBNY Handbook.

       77.     Thereafter, on August 11, 2022, BSJI was able to finally have a call with the

FRBNY. During that call, the FRBNY refused to consider BSJI’s position, would not explain why

it had not responded to BSJI’s requests for guidance, claimed that the deadlines for report

submission were “clear,” and stated that it would not change its decision to terminate BSJI’s

account. The FRBNY had decided to terminate BSJI’s master account based on the “phantom

deadline,” and it made clear that its decision was not going to change.

       78.     BSJI nonetheless continued to reach out to the FRBNY, re-explaining the

conflicting guidance regarding the supposed deadline, informing it of K2’s extensive work to date,

pleading with the FRBNY to afford K2 the time necessary to complete preparation of its reports,




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especially since they were nearing completion, and, more generally, asking that the FRBNY enter

into a constructive dialogue with BSJI, all to no avail.

         79.   Facing the imminent termination of its master account and with hope of convincing

the FRBNY to change tact diminishing by the day, BSJI was left with limited options. It

consequently informed the FRBNY, on September 15, 2022, that the FRBNY’s actions were

arbitrary and unsupported, leaving BSJI with no other option than to challenge the decision in

court.

         80.   In response, on September 19, 2022, the FRBNY wrote to BSJI and stated that it

would not proceed with the master account closing on September 29, but would rather “consider

whether [K2’s then just-filed and soon-to-be-filed] submission[s] impacts the Federal Reserve

Bank of New York’s . . . decision to close BSJI’s master account.” The FRBNY simultaneously

advised that it would transmit to BSJI Requests for Information (“RFI”) and would consider those

responses of BSJI in determining how to proceed.

         81.   On information and belief, within the past five years the FRBNY began

implementing an internal policy to substantially downside the number of IBEs who have access to

the Federal Reserve System, including and especially those owned by individuals who were born

outside the United States. Likewise on information and belief, the FRBNY is pursuing this policy

– which paints all institutions with a broad brush – because it considers IBEs inherently high risk

since they are not federally regulated, giving short shrift to the fact that BSJI is regulated by a

supervisory authority in Puerto Rico, a U.S. territory, and notwithstanding the FRBNY’s official’s

prior statement that BSJI was “front of the line.”

         82.   The implementation of this policy has, as discussed earlier, been affirmed by public

reporting, including the disclosure of an April 27, 2019 letter wherein the FRBNY stated that it



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would refuse to grant master account access to Puerto Rican IBEs for the indefinite future.

According to this report, the FRBNY’s decision was driven by the “expansion of U.S. economic

sanctions relating to Venezuela.” The FRBNY, in essence, has adopted a policy of “guilty until

proven innocent” to an entire sector of the banking community, based simply on the actions of a

handful of bad actors. This decision is unsupportable and unlawful.

       83.     On information and belief, the FRBNY’s July 18, 2022 decision to terminate BSJI’s

master account on the purported basis of a phantom deadline was designed to eliminate one such

IBE in furtherance of this policy. Upon learning that BSJI would seek judicial review of its

groundless decision to terminate BSJI’s master account on the basis of a “phantom deadline,”

caused by the FRBNY’s own failure to respond to multiple inquiries, the FRBNY elected to stand

down for the time being to afford it an opportunity to do what it had done before – look for and

generate different, additional bases to justify its pre-ordained decision.

       84.     Over the next several months, BSJI submitted an additional filing the FRBNY had

requested, and responded to RFIs concerning BSJI’s compliance programs, systems, controls, and

client basis. Additionally, to ensure the FRBNY’s comfort with BSJI maintaining master account

access, it volunteered to be supervised by the FRBNY. By January 2023, BSJI’s requested

submissions were complete. Nothing more was heard from the FRBNY.

       85.     BSJI sought to be proactive and therefore again reached out to the FRBNY. As

noted above, by letter dated January 25, 2023, BSJI sent two letters to the FRBNY, again seeking

a dialogue. BSJI described therein many of the steps it had taken since 2019, many of which were

at the direction of or in concert with the FRBNY, to enhance its compliance program, including

its retention of many of the best and most respected consultants – many former regulators – in the

country, at an extraordinary cost to BSJI. BSJI offered to do still more, if only the FRBNY would



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share with BSJI what the FRBNY wanted it to do. In this regard, BSJI advised the FRBNY that it

“is prepared to take additional action in collaboration with the FRBNY, including, for example,

by establishing a cap on master account activity, limiting the functionality of BSJI-provided

accounts, or adopting capital requirements, all to address any perceived risk to the Reserve Bank

associated with use of the master account.” In other words, BSJI was prepared to take any

reasonable measure to give the FRBNY its needed comfort. The FRBNY’s response was silence.

VI.    THE FRBNY AGAIN ACTS TO CLOSE BSJI’S MASTER ACCOUNT

       86.     On April 24, 2023, again without warning or dialogue, BSJI received yet another

termination letter from the FRBNY. The FRBNY’s original basis for account closure – the

“phantom deadline” – went entirely unmentioned. Rather, the FRBNY concocted a new list of

purported “deficiencies” in BSJI’s compliance program and vaguely cited the volume of

transactions from unidentified “high-risk jurisdictions” as now justifying its truly remarkable

conclusion: that BSJI, a bank with fewer than 20 retail clients and a modest transaction volume,

comprising a mere fraction of its former self, poses an “undue risk to the overall economy” and

consequently violated Principle 5 of the Board’s Guidelines. The FRBNY further concluded that

the information provided by BSJI concerning its compliance program and willingness to be

directly supervised by the FRBNY did nothing to “alter its determination to close BSJI’s account.”

       87.     This latest effort to deprive BSJI of its master account – its “forward-looking

enhancements are deficiencies” rationale, and the FRBNY’s third unsupported bite at the apple –

lacks any substantive basis. Among other things, even though K2 (which had been pre-approved

by the FRBNY in response to their request that BSJI appoint an independent BSA/AML and OFAC

auditor) conducted an exhaustive, on-the-ground audit of BSJI’s BSA/AML and OFAC

compliance program, the FRBNY – in a move that can fairly be described as Kafkaesque – chose

to discard K2’s months of analysis and conclusions that BSJI’s BSA/AML and OFAC compliance
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program met regulatory standards and was otherwise satisfactory. Given K2’s reputation as the

“gold standard” in the industry and its history of careful, in-depth, and professional work, BSJI

does not believe the FRBNY has ever previously discarded K2’s conclusions as it related to any

non-IBE/IFE financial institution, much less in circumstances where the FRBNY has not itself

actually conducted an on-site examination.

       88.    In addition to K2, BSJI’s BSA/AML and OFAC compliance program, largely

prepared by top consultants and former regulators, have been reviewed and blessed by its

regulator (OCIF) and by AMLRS, which, like K2, is a nationally-recognized, well-credentialed,

independent BSA/AML and OFAC auditor. Further still, on September 21, 2022, another

governmental entity, the      highly-respected       Financial   Industry   Regulatory   Authority

(“FINRA”), which is the self-regulatory organization that regulates and supervises the

hundreds of securities broker dealers and more than 600,000 securities brokers in the United

States, approved BSJI’s transaction in which it indirectly acquired a 40 percent interest in a

securities broker dealer in Illinois. FINRA, of course, conducts rigorous reviews as a condition

of such a sizable acquisition of any securities broker dealer that is a member of FINRA.

       89.    Lastly, a major credit card company independently audited BSJI’s BSA/AML and

OFAC compliance program by hiring its own BSA/AML and OFAC auditor. That major credit

card company’s auditor concluded in 2022 that

                     . Consequently, the major credit card company approved BSJI’s request to

employ such credit cards, that is, so long as BSJI maintains a master account at the FRBNY.

       90.    Moreover, while the FRBNY contended that BSJI imposes a risk of facilitating

“economic or trade sanctions violations,” in 2020, the U.S. Department of the Treasury’s Office

of Foreign Assets Control conducted a civil investigation and audit of BSJI’s OFAC compliance



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plan. OFAC closed that investigation without a single finding and BSJI’s OFAC compliance plan

has only been enhanced since then, belying the FRBNY’s claims.

       91.     The FRBNY and the Board are the only outliers, as only they purport to lack

comfort with BSJI’s compliance program, having purportedly concluded that BSJI poses an

“undue risk to the overall economy.”         As mentioned above, several different independent

organizations have reviewed and blessed BSJI’s compliance program, leaving the FRBNY and the

Board, as it were, on an island, a fact all the more striking given that neither the FRBNY nor the

Board audited BSJI or visited BSJI to assess its compliance systems in-person during this process.

Indeed, the FRBNY has not conducted an in-person visit – a crucial component of any compliance

system assessment – since before it first suspended BSJI’s account in 2019.

       92.     As it does in every bank assessment, K2 identifies any regulatory deficiencies it

finds. K2 separately provides banks with (nonbinding) enhancement recommendations to further

bolster their respective compliance programs. The FRBNY, in order to manufacture a basis to

support its decision to close BSJI’s master account, shockingly chose to discard K2’s finding that

no regulatory deficiencies existed, and instead chose to recharacterize certain of K2’s

recommended, future-looking enhancements as regulatory deficiencies.

       93.     K2, per industry standards, considered BSJI’s entire risk profile in reaching its

conclusions. For example, BSJI was forced to reduce or “de-risk” its retained account base by

97% from December 31, 2018, to March 31, 2023. With so few accounts, and with so few

incoming transactions over the course of a year – fewer than one or two a day – BSJI represents a

far smaller risk profile than almost all financial institutions across the country. Whereas the typical

financial institution must rely on computer analytics to discover anomalies among its customers,

BSJI’s compliance team knows its customers, understands the businesses they are in, and can and



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does evaluate in real time the transactions when made. Simply put, the compliance program for a

bank with tens of thousands of customers and potentially hundreds of thousands of transactions

annually should be and is very different than a bank with a small number of customers and fewer

than 300 wire transfers each year.

        94.     In this respect, the FRBNY found the fact that BSJI had not filed any Suspicious

Activity Reports (“SAR”) in the last two years is an indication of “weakness in BSJI’s compliance

program.” The FRBNY, however, did not point to a single transaction for which a SAR should

have been filed. The Financial Crimes Enforcement Network (“FinCEN”) surely has not warned

(much less fined) BSJI for failing to flag a transaction for which a SAR should have been filed.

That is not surprising given the exceedingly low number of transactions that pass through BSJI

and the fact that each transaction, unlike at the majority of financial institutions, is capable of being

reviewed – and is reviewed – in real time.

        95.     As it turns out, BSJI’s compliance committee, in the ordinary course, had been

working on implementing many of K2’s recommendations when the FRBNY sent its April 24,

2023 letter advising BSJI of the FRBNY’s intent to close the master account. Of the FRBNY’s

16-bullet points in the April 24, 2023 letter, 13 of them relate directly to K2’s recommended

enhancements (re-labeled by the FRBNY as either “deficiencies”, “concerns” or “programmatic

weaknesses”). The BSJI compliance committee has taken steps to remedy each and every one of

the 13 as of this date, and K2 is currently engaged to validate that each has in fact been remedied

to K2’s high standards. As of this date, K2 has already validated 10 of the 13, and K2 will continue

to work with BSJI in the next several weeks to complete its validation process. These measures

will further bolster an already strong compliance program in anticipation of BSJI’s eventual,

deliberate growth pursuant to its business plan over the next several years. Additionally, K2 is



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just now devoting resources to conduct its annual audit of BSJI’s BSA/AML and OFAC functions,

with a review date ending on June 30, 2023.

        96.     With its April 24, 2023 letter referencing the “totality of [the FRBNY’s] concerns”

consisting of 16 bullet points, the FRBNY’s calculus should have materially changed when

advised that BSJI has been in the process of addressing K2’s recommended enhancements and that

K2 is in the process of validating those measures. Put another way, more than 80 percent of the

FRBNY’s concerns should have been put to rest because those purported concerns were outdated.

Instead, in an ensuing June 20, 2023 phone call with BSJI, the grounds upon which the FRBNY’s

decision rested shifted yet again, with the FRBNY not relying at all on the K2 so-called

deficiencies, but now and instead on alleged transactions of “shell companies” in “high-risk”

jurisdictions. Not surprisingly, the FRBNY did not identify any particular customer or any

particular set of transactions as indicative of supposed illicit activity. But as BSJI laid out in detail

in its June 27, 2023 letter responding to the FRBNY’s “unspecified shell company” rationale, none

of BSJI’s accounts involves “shell companies,” and BSJI knows and understands the business of

each of its customers as part of its enhanced due diligence.

        97.     In its submissions to the FRBNY, BSJI has provided an exhaustive response to the

April 24, 2023 letter, painstakingly detailing BSJI’s recent compliance efforts, the FRBNY’s

failure to account for BSJI’s exceedingly modest risk profile, small retail customer base, and

limited transaction volume, and the faulty assumptions upon which the FRBNY’s contentions –

particularly, that BSJI posed an undue risk to the overall economy – rested. These submissions,

by any measure, should have put any legitimate concerns the FRBNY might have had to rest or,

at a minimum, encouraged the FRBNY to engage BSJI in dialogue.




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        98.     The FRBNY, however, did not act in good faith. Instead, three days after BSJI

provided information about each of its customers (since the FRBNY failed to identify which

particular customer(s) the FRBNY had concerns about), on June 30, 2023, the FRBNY sent a third

termination letter, in which the FRBNY both mandated that BSJI’s account would be closed on

July 31, 2023 and lobbed new allegations concerning unspecified “high-risk transaction

typologies” it claimed were “suggestive” of illicit activity. BSJI nevertheless continued to seek a

constructive dialogue with the FRBNY. In a response dated July 7, BSJI noted that the vague

nature of the FRBNY’s latest round of allegations prevented BSJI from offering a substantive

response, and that BSJI was more than willing to address any of the FRBNY’s concrete concerns.

As before, these efforts were rebuffed. After a year-long saga marked by consistently unreasonable

and bad-faith action on the part of the FRBNY, and with the bank’s master account and lifeline at

stake, it has now been forced to bring suit.

        99.     The wholly arbitrary nature of the FRBNY’s decision is all the more apparent when

contrasted with its actions towards other financial institutions. Indeed, just days ago, the FRBNY

simply imposed a consent decree and financial penalty against Deutsche Bank for its lack of

“adequate BSA/AML internal controls” and its “insufficient progress” in reducing compliance risk

with respect to money laundering and sanctions violations – strikingly similar conclusions to the

allegations it has lodged against BSJI. 5 But there are in fact two differences. First, there have

been actual findings against Deutsche Bank for violations of law, including for sanctions

violations. Second, there is no hint that Deutsche Bank has been accused of posing an undue risk

to the overall economy or that its master account is being terminated. Simply, the FRBNY has



5
 Board of Governors of the Federal Reserve System, Federal Reserve Board announces two enforcement actions
against Deutsche Bank AG, its New York branch, and other U.S. affiliates (July 19, 2023) available at
https://www.federalreserve.gov/newsevents/pressreleases/enforcement20230719a.htm.

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taken drastically different approaches as to a small IBE in Puerto Rico compared to a large

financial institution, taking no action against Deutsche Bank’s master account, despite it being a

far larger bank (that actually might affect the overall economy) with a less stringent compliance

system.

         100.     It cannot be overstated that BSJI’s actions in (i) implementing a rigorous (and

expensive) compliance program, (ii) engaging multiple outside advisors to examine and improve

its operations, (iii) providing a seemingly endless stream of submissions to the FRBNY, and (iv)

offering to accommodate every FRBNY request at every turn, are hardly the actions one would

expect of a bank engaged in illicit, “high-risk transactions.” And with good reason: BSJI is the

exact opposite of such a bank.

VII.     THE BOARD’S INVOLVEMENT IN THE FRBNY’S UNLAWFUL DECISION TO
         TERMINATE BSJI’S MASTER ACCOUNT

         101.     The decision to terminate BSJI’s master account was not made by the FRBNY

alone. The Board, which has expressly endorsed the FRBNY’s claim to discretion over BSJI's

master account and issued “Guidelines” purporting to provide transparency as to how that

discretion is applied, is also driving the decision.

         102.      Historically, the Board has been silent as to the topic of master account eligibility

given that, as detailed above (supra at ¶ 9), the right of a statutorily-eligible institution 6 to a master



6
   BSJI is a “nonmember depository institution” within the meaning of 12 U.S.C. § 248a(c)(2) and is thus a statutorily-
eligible institution. The term “depository institution” means “any insured bank as defined in Section 3 of the Federal
Deposit Insurance Act of 1933, as amended [12 U.S.C. § 1813] (the “FDI Act”) or any bank which is eligible to make
application to become an insured bank under Section 5 of such the FDI Act [12 U.S.C. § 1815].” 12 U.S.C. §
461(b)(1)(A)(i). The term “bank,” in turn, means “any insured or noninsured bank, as defined in Section 3 of the
Federal Deposit Insurance FDI Act [12 U.S.C. § 1813].” Id. § 461(b)(1)(B). Section 3 of the Federal Deposit
Insurance Act FDI Act defines “noninsured bank” as “any bank the deposits of which are not . . . insured,” 12 U.S.C.
§ 1813(h), where “bank” means, as relevant here, “any bank, banking association, trust company, savings bank,
industrial bank . . . , or other banking institution which—(A) is engaged in the business of receiving deposits, other
than trust funds . . .; and (B) is incorporated under the laws of any State [or Puerto Rico] . . . .” 12 U.S.C. §
1813(a)(1)–(3). BSJI is a banking institution engaged in the business of receiving deposits and is incorporated under
the laws of Puerto Rico. HJV Decl. ¶ ___. As such, it is eligible to become an insured bank under 12 U.S.C. § 1815

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account had been a matter of accepted fact. However, and in concert with the FRBNY’s (as well

as other Federal Reserve Banks’) reimagination of the scope of their authority, the Board

developed and issued Guidelines that purport to clarify the factors Federal Reserve Banks consider

in determining whether an entity should be allowed master account access. The Board issued final

guidelines on August 15, 2022 (the “Guidelines”), after the FRBNY had determined it would

terminate BSJI’s master account access on the basis of an allegedly missed deadline. See Bd. of

Govs. Of Fed. Rsrv. Sys., Guidelines for Evaluating Account and Service Requests, 87 Fed. Reg.

51,0999 (August 15, 2022).

       103.    The Guidelines state that the Federal Reserve Banks, including the FRBNY, have

ultimate decision-making discretion on master account access, though the Board made clear that

it retains full responsibility for “interpreting the provisions of the [Federal Reserve] Act concerning

legal eligibility.” Id. at 51,103 n. 11. Given that the FRBNY operates under the “general

supervision authority” of the Board (id. at 51,106) and can exercise only that authority which has

been delegated to it by the Board (setting aside express congressional delegations to the Federal

Reserve Bank), the Board’s interpretation of the scope of the FRBNY’s authority both enabled and

empowered the FRBNY in its decision to terminate BSJI’s master account. Moreover, it is hard

to envision how a decision to close BSJI’s master account is not a decision concerning “legal

eligibility,” which puts this decision squarely in the Board’s bailiwick.

       104.    The Guidelines articulate six “Principles” that Federal Reserve Banks should

consider in assessing whether an institution merits access to a Federal Reserve Account. Of

particular significance here, Principle 5 of the Guidelines directs Federal Reserve Banks to

consider whether “[provision of an account and services to an institution should not create undue


and is therefore a “depository institution” within the meaning        of    12   U.S.C.   §   248a(c)(2).
http://www.federalreserve.gov/paymentsystems/pfs_standards htm

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risk to the overall economy by facilitating activities such as money laundering, terrorism,

financing, fraud, cybercrimes, economic and trade sanctions violates, or other illicit activity.” Id.

at 51,109. The FRBNY predicated its decision to terminate BSJI’s master account expressly upon

Principal 5.

       105.    The Board has likewise acted to improperly validate the breadth of the FRBNY’s

claimed authority specifically with respect to BSJI.         Following the FRBNY’s July 2022

termination decision, Mr. Isaac, on behalf of BSJI, contacted the Board in August 2022 concerning

the impropriety of the FRBNY’s decision. Mr. Issac further requested that the Board intervene

both to prevent the FRBNY’s unlawful conduct and to resolve the dispute amicably. The Board

demurred, making clear that pursuant to their supervision and direction, the FRBNY holds ultimate

“discretion over BSJI’s master account and access to Federal Reserve services.”

VIII. BSJI’S CONSISTENT DISPLAYS OF GOOD FAITH

       106.     As is plain from above, BSJI boasts experienced management and extraordinary

consultants on whom BSJI has relied for years and who have validated the strength of BSJI’s

compliance program. Among all those familiar with BSJI, the FRBNY is an outlier, not only as to

its conclusions, but its total failure to even engage in a dialogue with BSJI.

       107.    One such BSJI consultant is Chris Laursen, former Manager of Risk Policy and

Guidance for the Federal Reserve Board, as Head of Trading and Capital Markets Risk within the

Market and Liquidity Section of the Board of Governors. Mr. Laursen has affirmed that “BSJI’s

BSA/AML and OFAC Program is better developed than the programs of larger banks with a

substantially greater number of customers, assets, accounts, transactions, and activity types.”

       108.    The former Chairman of the FDIC, William Isaac, similarly affirms that he “find[s]

the FRBNY’s mistreatment of BSJI to be among the worst that I have seen in the industry, in light

of BSJI’s inordinate expenditure of resources and absolute commitment to satisfy the FRBNY’s
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every concern. There is no reason why the FRBNY could not have identified any alleged new

concerns and afforded BSJI a reasonable opportunity to remedy any purported shortcomings –

which is what the guidelines published in August 2022 by the Board of Governors of the Federal

Reserve System provide for before a Reserve Bank such as the FRBNY opts for account closure.”

       109.    Independent third parties have likewise affirmed the merit of BSJI’s compliance

systems. In 2023, BSJI acquired (the “2023 Broker Dealer Investment”) a 40% equity interest in

Intelligenics Inc., which is the sole stockholder of Insight Securities Inc., Highland Park, Illinois

(“Insight Securities”). Insight Securities is registered with the U.S. Securities and Exchange

Commission as a securities broker dealer, and Insight is a FINRA member firm. Intelligenics Inc.

has over $1,500 million in assets under providing securities brokerage and financial services to

customers across the United States and Latin America. Under FINRA rules, the 2023 Broker

Dealer Investment by BSJI required the prior approval of FINRA. FINRA conducted a rigorous

review – which lasted approximately six months – of BSJI and its sole stockholder, Mr. Marcelino

Bellosta. FINRA was satisfied with BSJI and Mr. Bellosta and approved the Investment.

       110.    Likewise, credit card network VISA, as a condition to providing credit card services

for BSJI, engaged Kaufman Rossin & Co. P.A. (“Kaufman Rossin”) to review the BSJI BSA/AML

compliance program. Kaufman Rossin issued a BSA/AML and OFAC compliance program report

in 2022 that concluded

                                                                                 VISA

                                                  it consequently entered into a credit card program

services agreement with BSJI earlier this year.


                                             COUNT I

                          VIOLATION OF THE APA, 5 U.S.C. § 706

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                   (AGAINST DEFENDANTS FRBNY AND THE BOARD)

       111.     All prior paragraphs are incorporated as if fully set forth here

       112.     Under Section 706 of the APA, “[t]o the extent necessary to decision and when

presented, the reviewing court shall decide all relevant questions of law, interpret constitutional

and statutory provisions, and determine the meaning or applicability of the terms of an agency

action. The reviewing court shall . . . hold unlawful and set aside agency action findings, and

conclusions found to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” 5 U.S.C. § 706.

       113.     The FRBNY and the Board are federal agencies for purposes of the APA.

       114.     The FRBNY and the Board are mandated by 12 U.S.C. § 248 to provide Federal

Reserve bank services, including access to a master account, to all eligible “depository institutions”

on a non-discretionary basis. BSJI satisfies the statutory requirements for eligibility. Their failure

to fulfill this statutory mandate amounts to arbitrary and capricious action in violation of the APA.

       115.     Yet even assuming that the FRBNY and the Board possess some level of discretion

concerning master account access, their actions here are patently improper. As detailed in the

Complaint, the decision to terminate BSJI’s account is arbitrary, capricious, an abuse of discretion,

and/or otherwise not in accordance with law. The decision was made without fair notice nor any

real opportunity for hearing. Moreover, the decision (like the two that preceded it) is based on an

incomplete and inaccurate assessment of BSJI, lacks any reasonable basis, and is disproportionate

to the claimed compliance-related issues the FRBNY has cited, particularly in light of the fact that

those purported issues have been remediated.

       116.     In particular, the finding that BSJI poses an undue risk to the overall economy is

arbitrary and capricious, and contrary to law, in light of, among other things, (i) BSJI's small

footprint and
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                       and by several different BSA/AML/Sanctions audit firms who conducted on-

the-ground analysis.

        117.    Accordingly, the FRBNY and the Board’s decision to terminate BSJI’s master

account and, more generally, Federal Reserve services, is arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law, in violation of 5 U.S.C. § 706(2)(A).


                                             COUNT II

                      Relief Under the Mandamus Act, 28 U.S.C. § 1361
                   (AGAINST DEFENDANTS FRBNY AND THE BOARD)

        118.    All prior paragraphs are incorporated as if fully set forth here.

        119.    Under 28 U.S.C. § 1361, “[t]he district courts shall have original jurisdiction of any

action in the nature of mandamus to compel an officer or employee of the United States or any

agency thereof to perform a duty owed to the plaintiff.” Here, BSJI requests that this Court issue

a writ of mandamus to the FRBNY and the Board to fulfill their nondiscretionary duty to provide

BSJI with master account access and Federal Reserve services.

        120.    This Court has jurisdiction over BSJI’s claim under the Mandamus Act.

        121.    The FRBNY and the Board are federal agencies for purposes of a claim under 28

U.S.C. § 1361, and are subject to the mandamus power of this Court.

        122.    Mandamus is here appropriate given that BSJI is entitled by law to a master

account. Pursuant to 12 U.S.C. § 248, Federal Reserve services “shall be available” to all eligible

depository institutions on a non-discretionary basis. BSJI satisfies the statutory criteria for eligible

depository institutions, and Federal Reserve services are only available through a master account.

The FRBNY and/or the Board consequently have a clear nondiscretionary duty to provide BSJI

with continuing access to its master account and the associated Federal Reserve services.



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       123.    Mandamus is necessary in this case because BSJI has exhausted its administrative

remedies. BSJI has constantly attempted to engage the FRBNY in discussions concerning its

master account, in an effort to reach an amicable resolution. Yet the FRBNY has unequivocally

stated that BSJI’s master account will be terminated on July 31, 2023. The Board has refused to

intervene to FRBNY’s unlawful conduct and to resolve the dispute amicably, instead taking the

position that the FRBNY holds ultimate “discretion over BSJI’s master account and access to

Federal Reserve services.”

       124.    Without a master account, BSJI will suffer substantial injury. BSJI will no longer

be able to effectively function as a depository institution (see supra at ¶ 40), and is all but certain

to experience a terminal loss of business and clients.


                                            COUNT III

   DECLARATORY JUDGMENT OF BSJI’S RIGHT TO A MASTER ACCOUNT
UNDER 12 U.S.C. § 248A(C)(2) (AGAINST DEFENDANTS FRBNY AND THE BOARD)

       125.    All prior paragraphs are incorporated as if fully set forth here.

       126.    An actual controversy exists within this Court’s jurisdiction concerning the

interpretation and application of 12 U.S.C. § 248 and related statutes, regulations, and policy

pronouncements, such that the Court should declare the rights of BSJI.

       127.    BSJI asserts this claim under 28 U.S.C. § 2201(a), which provides that “[i]n the

case of an actual controversy within its jurisdiction . . . any court of the United States, upon the

filing of an appropriate pleading, may declare the rights and other legal relations of any interested

party seeking such declaration.”

       128.    An actual controversy exists in the present case. The FRBNY and the Board are

mandated by 12 U.S.C. § 248 to provide Federal Reserve bank services, including access to a



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master account, to all eligible “depository institutions” on a non-discretionary basis. The FRBNY

and the Board act jointly to satisfy this statutory obligation: the FRBNY engages directly with

applicant entities, and the Board is obligated to exercise its supervisory authority concerning such

applications.

       129.     BSJI satisfies the statutory requirements for eligibility, and as the Supreme Court’s

recent opinion in Biden v. Nebraska demonstrates, the Board and the FRBNY lack the power to

unilaterally expand the scope of authority delegated to it by Congress. Yet the FRBNY has, in

violation of its statutory obligations, arbitrarily decided to terminate BSJI’s master account,

effective July 31, 2023, foreclosing BSJI’s much-needed access to FRBNY services.

       130.     This controversy arises in the Court’s jurisdiction. The FRBNY resides in New

York and many of the events giving rise to this claim have occurred in New York, including the

FRBNY’s decision to terminate BSJI’s master account.

       131.     Through this Complaint, BSJI has filed an appropriate pleading to have its rights

declared. The Court can resolve this controversy by declaring that the effectuation of the FRBNY’s

and the Board’s decision to terminate BSJI’s master account would violate BSJI’s statutory right

to a master account and corresponding FRBNY services.

       132.     Accordingly, BSJI seeks a declaration from this Court that BSJI has a right to its

master account and that the termination of BSJI’s master account under the present circumstances

and on this record would be contrary to the statutory obligations of the FRBNY and the Board.

                                            COUNT IV

     DECLARATORY JUDGMENT THAT THE FRBNY’S MASTER ACCOUNT
  TERMINATION WOULD VIOLATE THE FIFTH AMENDMENT’S DUE PROCESS
          CLAUSE (AGAINST DEFENDANTS FRBNY AND BOARD)

       133.     All prior paragraphs are incorporated as if fully set forth here.



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       134.    BSJI has a property interest in the master account and the continued operation of

the Bank. The Due Process clause of the Fifth Amendment to the United States Constitution

protects that property interest against irrational, arbitrary, or capricious deprivations by federal

instrumentalities.

       135.    The Due Process clause also requires that the FRBNY and the Board afford BSJI

adequate procedures, including but not limited to, a meaningful opportunity to be heard, before

terminating the master account. BSJI has been afforded no such procedures. Instead, BSJI not

only had no opportunity to be heard, but no notice at all prior to being advised that its master

account would be closed and its access to other Federal Reserve System services would be

terminated. On information and belief, the FRBNY’s refusal to afford BSJI adequate procedures

is also based, in part, on a targeted effort by the FRBNY to prevent all IBEs from maintaining, or

being granted access to, master accounts.

       136.    Accordingly, BSJI seeks a declaration from this Court that the FRBNY’s and the

Board’s termination of BSJI’s master account and, more generally, of BSJI’s access to Federal

Reserve services, if effectuated, under the present circumstances and on this record would violate

the Due Process clause of the Fifth Amendment to the United States Constitution.

                                            COUNT V

     DECLARATORY JUDGMENT THAT THE FRBNY’S MASTER ACCOUNT
  TERMINATION WOULD BREACH ITS CONTRACTUAL DUTY OF GOOD CARE
                   (AGAINST DEFENDANT FRBNY)

       137.    All prior paragraphs are incorporated as if fully set forth here.

       138.    BSJI’s master account opened on April 5, 2012, pursuant to a Foreign Banking

Institution Account Agreement between BSJI and the FRBNY. The Account Agreement is

governed by New York law and incorporates “all the provisions” of Operating Circular No. 1.



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Operating Circular No. 1, in turn, sets “forth the terms under which a Financial Institution may

open, maintain, and terminate a Master Account with” a Federal Reserve Bank.

       139.    Operating Circular No. 1 imposes upon the FRBNY a “duty of care,” under which

it is responsible for “actual damages incurred by the Account Holder and proximately caused by

the Reserve Bank’s lack of good faith and failure to exercise ordinary care.”

       140.    The FRBNY’s arbitrary decision to close BSJI’s account, first based on its “media

reports” rationale, next on its “phantom deadline” claim, then on a “forward-looking enhancements

are deficiencies” basis, and finally on an “unspecified shell company” theory, breaches the

contractual duty of care it owes to BSJI.

       141.    Accordingly, BSJI seeks a declaration from this Court that the FRBNY’s

termination of BSJI’s master account, if effectuated, under the present circumstances and on this

record would breach the FRBNY’s contractual duty of care to BSJI.

                                            COUNT VI

     DECLARATORY JUDGMENT THAT THE FRBNY’S MASTER ACCOUNT
  TERMINATION WOULD BREACH THE IMPLIED COVENANT OF GOOD FAITH
           AND FAIR DEALING (AGAINST DEFENDANT FRBNY)

       142.    All prior paragraphs are incorporated as if fully set forth here.

       143.    BSJI’s master account opened on April 5, 2012, pursuant to a Foreign Banking

Institution Account Agreement between BSJI and the FRBNY. The Account Agreement is

governed by New York law and incorporates “all the provisions” of Operating Circular No. 1.

Operating Circular No. 1, in turn, sets “forth the terms under which a Financial Institution may

open, maintain, and terminate a Master Account with” a Federal Reserve Bank. It is also governed

by New York law.




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       144.    BSJI and the FRBNY’s agreements incorporate the covenant of good faith and fair

dealing implied in every contract governed by New York law. This requirement includes an

obligation that neither party shall do anything that will have the effect of destroying or injuring the

right of the other party to receive the fruits of the contract. The FRBNY’s arbitrary decision to

close BSJI’s master account – an account to which it is legally entitled – first based on its “media

reports” rationale, next on its “phantom deadline” claim, then on a “forward-looking enhancements

are deficiencies” basis, and finally on an “unspecified shell company” theory, breaches the

contractual duty of care it owes to BSJI and clearly frustrates BSJI’s ability to enjoy the fruits of

the Account Agreement.

       145.    Accordingly, BSJI seeks a declaration from this Court that the FRBNY’s

termination of BSJI’s master account, if effectuated, under the present circumstances and on this

record would violate the covenant of good faith and fair dealing.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court:

       A. Enter a declaratory judgment, pursuant to 28 U.S.C. § 2201, that Defendants’ decision

to terminate BSJI’s master account, if effectuated, would (i) violate FRBNY and the Board’s

statutory obligations; (ii) constitute arbitrary and capricious action, be an abuse of discretion,

and/or otherwise not in accordance with law under the APA; (iii) violate BSJI’s right to Due

Process; (iv) breach the FRBNY’s contractual duty of care; and (v) constitute a breach of the

implied covenant of good faith and fair dealing implied in BSJI’s contract with the FRBNY;

       B.      Issue a writ of mandamus ordering the FRBNY and the Board to continue to

provide access to its master account and to Federal Reservice services;




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       C.      Preliminarily and permanently enjoin the FRBNY and the Board from terminating

BSil's master account and BSil's access to Federal Reserve services on the basis of the issues

raised by the FRBNY in its letters to BSil to date;

       D.      Award Plaintiff reasonable costs, attorneys' fees, and expenses under the Equal

Access to Justice Act, 28 U.S.C. § 2412; and

       E.      Award such further relief as this Court deems appropriate.



Dated: July 24, 2023                                  Respectfully submitted,
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